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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT COURT OF MARYLAND


 CASA DE MARYLAND, INC., et al,
          Plaintiffs                             *


                      v.                         *
                                                       Civil Action No. 8:21-cv-01778-DKC
 ARBOR REALTY TRUST, INC., et al,
                                                 *
         Defendants.

                                                 *

                                             ******

                  HYATTSVILLE DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendants Victoria United, LLC (“Victoria United”), Bedford United, LLC (“Bedford United”),

Hyattsville United, LLC (“Hyattsville United”), and Arbor Management Acquisition Company,

LLC (“AMAC”) (collectively, the “Hyattsville Defendants”), by and through their undersigned

counsel, respectfully move to dismiss Plaintiffs’ CASA de Maryland, Inc. (“CASA”), Anita

Ramirez (“Ms. Ramirez”), Ramiro Lopez (“Mr. Lopez”), Ervin Obdulio Rodas (“Mr. Rodas”),

Jesus Gonzalez (“Mr. Gonzalez”), Maria Arely Bonilla (“Ms. Bonilla”), Maria Lara (“Ms. Lara”),

and Norma Guadalupe Beltran (“Ms. Beltran”) (collectively, “Plaintiffs”) putative class action

Complaint (ECF No. 1) for failure to state a claim. In support of this Motion, the Hyattsville

Defendants state the following:

       1.       On July 19, 2021, Plaintiffs filed a nine-count Complaint asserting the following

individual and putative class member claims against the Hyattsville Defendants: (1) violations of

the federal Fair Housing Act (“FHA”), 42 U.S.C. §§ 3601, 3604(a), 3604(b), 3613(c)(1), 3617,

(Counts I-V); (2) breaches of the express and implied terms of Plaintiffs’ lease agreements (Counts
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VI-VII); and (3) violation of Maryland’s common law prohibition against civil conspiracy (Count

IX). Each of Plaintiffs’ claims are defective.

        2.       Plaintiffs’ attempt to treat seven legally-distinct corporate entities as a singular

“Arbor” entity throughout the majority of the Complaint fails to put the Hyattsville Defendants on

notice of the claims against them. Due to this impermissible use of group pleading, Plaintiffs fail

to state a claim.

        3.       Plaintiffs’ FHA claims are deficient and must be dismissed. First, Plaintiffs fail to

attribute individual policies to individual Defendants and fail to establish common ownership of

the properties that are used for the statistical analysis, which render the FHA claims implausible

as a matter of law. Second, Plaintiffs have not established that they suffered discrimination within

the meaning of the FHA because they have not plausibly pled a prima facie claim for disparate

impact or discriminatory intent. Plaintiffs have also failed to satisfy the additional statutory

requirements of the FHA under Sections 3604(a), 3601, and 3617.                  Count V—Plaintiffs’

standalone claim for injunctive relief under the FHA—must be dismissed for lack of an

independent cause of action. Count IX—Plaintiffs’ derivative claim of civil conspiracy to violate

the FHA—is also defective. Because Plaintiffs have not plausibly stated a claim under the FHA

and their civil conspiracy claim is premised upon violations of the FHA, the claim for civil

conspiracy must also be dismissed for lack of a predicate violation.

        4.       Plaintiffs fail to state a claim for breach of the express or implied terms of the lease

agreements in Counts VI and VII because they cannot establish privity between Plaintiffs and the

Hyattsville Defendants. In particular, (i) Plaintiffs do not allege that Hyattsville United or AMAC

owe contractual obligations to Plaintiffs and (ii) neither Ms. Ramirez nor CASA have contractual

relationships with any Defendant and thus cannot maintain breach claims as unintended third-party



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beneficiaries. As a result, this Court should dismiss Counts VI and VII brought by all Plaintiffs

against Hyattsville United and AMAC, as well as the claims brought on behalf of Ms. Ramirez

and CASA for lack of a contractual relationship.

       5.       In addition to the merits, CASA lacks both (i) representational standing to bring

claims on behalf of its members for money damages and (ii) organizational standing to pursue

money damages on its own behalf for the state law contract claims. Further, it is plain from the

face of Plaintiffs’ Complaint that they seek damages for breach of contract beyond those permitted

by the continuing breach theory. These claims are therefore time barred and should be dismissed.

WHEREFORE, for the reasons set forth above and in the accompanying memorandum, the

Hyattsville Defendants respectfully request that the present Motion to Dismiss be GRANTED.



 Dated: December 20, 2021                    Respectfully submitted,

                                             /s/ Benjamin B. Klubes
                                             Benjamin B. Klubes (Bar Number 08085)
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                                             Bedford United, LLC
                                             Victoria United, LLC
                                             Hyattsville United, LLC
                                             Arbor Management Acquisition Company, LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed in this case with the

clerk of the court and served this 20th day of December, 2021 through the Court’s CM/ECF

system, which will send notification of this filing to all counsel of record.



                                                    /s/ Benjamin B. Klubes
                                                    Benjamin B. Klubes (Bar Number 08085)
                                                    Counsel for Defendants,
                                                    Bedford United, LLC
                                                    Victoria United, LLC
                                                    Hyattsville United, LLC
                                                    Arbor Management Acquisition Company,
                                                    LLC
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                                 INDEX OF EXHIBITS


EXHIBIT      DOCUMENT
   A         Certificates of Satisfaction – Bedford United, LLC (July 8, 2014) and Victoria
             United, LLC (Sept. 17, 2014)
    B        Letters from PG DPIE to Victoria United, LLC (Sept. 7, 2018) and Bedford
             United, LLC (Feb. 8, 2019)
    C        Maryland Department of Assessments and Taxation, Real Property Data Search
             Results for 10 Properties in HUD DC Market
    D        Maryland Department of Assessments and Taxation, Real Property Data Search
             Results for Bedford Station and Victoria Station
    E        New York City Property Records for 10 Rutgers St., Manhattan, NY 10002
    F        Bexar County, TX Official Records Search for Alamo Heights, San Antonio,
             TX 78209
    G        Named Plaintiffs’ Lease Agreements
 (5 Parts)
